 Case 1:23-cr-00191-ARR Document 36 Filed 09/12/23 Page 1 of 1 PageID #: 172

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
PJC                                                 271 Cadman Plaza East
F. #2021R00440                                      Brooklyn, New York 11201


                                                    September 12, 2023

BY EMAIL

The Honorable Allyne R. Ross
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Dacheng Lu
                      Criminal Case No. 23-191 (ARR)

Dear Judge Ross:

               The government respectfully writes to request that the Court schedule a change of
plea hearing in the above-referenced case on October 5, 2023, at 2 p.m., which is a time that the
parties understand the Court is available.

                                                    Respectfully submitted,


                                                    GLENN S. LEON
                                                    Chief, Fraud Section
                                                    Criminal Division
                                                    U.S. Department of Justice

                                             By:    /s/Patrick J. Campbell
                                                    Patrick J. Campbell
                                                    Trial Attorney, Fraud Section
                                                    Criminal Division
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                                                    (718) 254-6366

cc:    Clerk of Court (ARR)
       Stephen Scaring, Esq. (by ECF and mail)
